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The Honorable |. Leo Glasser

United States District .ludge

Eastem Distn`ct of New "r'ork

225 Csdman Plaza East

Erooiclyn1 New Yorlt 11241]1

Re: United States v. Fei‘i)r Sater
Case No. BB-CR-‘f 101 (fLG)

Dear Judge Glasser;

Please accept this as Defendant Feli)< Saters unopposed motion to continue the
sentencing hearing currently set before Your Honor on Thursdayl September El, 2004 at
313[] pm. As the Court may recalll l‘vlr. Eater has been involved in ongoing cooperation
activities with law enforcement agents, and has provided truthful and credible
information on a wide variety of criminal activities, some of which has already led to
criminal prosecution of others.

| have conferred with Assistant United States Attorney Thomas Firestone. who
does not oppose the relief sought herein, Currently lvlr. Sater is working with the
Federal Eureau of |nvestigation {“FE|"}, involving s long-term investigation into major
international criminal organl..':ationsl |n fact, the FB| is interested in having Sater travel
in the upcoming several monthsl along with FE| special agents1 to a foreign country in
order to assist them in their investigations in that oountry. Further, l have been asked to
relate to the Court that Assistant United States Attomey Eric Korngold {who is away
until next weel<} will upon his return to the District submit to the \Couri:1 under seal and
under separate cover1 additional information detailing more specifically lvlr. Sater's
ongoing cooperative efforts

According|y, we respectfully request that the Court continue Mr. Sater’s

 

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sentencing hearing for a period of six {E} months in order to enable lvlr. Sater to
continue his significant cooperative efforts.

Respectfu||y submitted,

l'vlyles liilalman
llelvli]r
cc: Assistant United Etates Attorney William Burke {S.D.N.Y.]
Assistant United States 1F~ittomey Thomas Firestone {E.D.N.Y.}
Assistant United States 1iiittorriey Eric Komgold {S.D.N.Y.]
United States Probation foioer Iv'lichelle Espinoza

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